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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF DELAWARE

  MICROCHIP TECHNOLOGY
  INCORPORATED,
                                                       Case No. 1:17-cv-01194-JDW
         Plaintiff,

                      v.

  APTIV SERVICES US LLC.,

         Defendant.

                                            ORDER

       AND NOW, this 28th day of July, 2020, upon consideration of Microchip Technology’s

Motion for a Finding of Estoppel Pursuant to 35 U.S.C. § 315(e)(2) (D.I. 191), it is ORDERED

that, for the reasons stated in the accompanying Memorandum, the Motion is GRANTED IN

PART and DENIED IN PART.

       It is FURTHER ORDERED that, pursuant to 35 U.S.C. § 315(e)(2), Defendant Aptiv

Services US, LLC, is estopped from asserting the following invalidity arguments:

       A. Obviousness based on Dickens, in combination with other written prior art, but not in

           combination with physical device prior art US-98/Belkin;

       B. Obviousness based on Furukawa in combination with other written prior art, but not in

           combination with physical device prior art US-98/Belkin; and

       C. Anticipation based on Ito, alone or in combination with other written prior art, but not

           in combination with physical device prior art US-98/Belkin.

                                                    BY THE COURT:


                                                    /s/ Joshua D. Wolson
                                                    JOSHUA D. WOLSON, J.
